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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                             CASE NO. 3:20cr68-MCR

RYAN K. NOBLE
_____________________________/


                   ACCEPTANCE OF PLEA OF GUILTY

      Pursuant to the Report and Recommendation of the United States Magistrate

Judge, to which there have been no timely objections, the plea of guilty of the

Defendant, Ryan K. Noble, to Counts One and Two of the indictment is hereby

ACCEPTED. All parties shall appear before this Court for sentencing as directed.

      DONE and ORDERED this 26th day of October 2020.



                                      s/ M. Casey Rodgers
                                     M. CASEY RODGERS
                                     UNITED STATES DISTRICT JUDGE
